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McGREGOR W. SCOTT

United States Attorney JAN 25 2007
SAMANTHA S. SPANGLER
Assistant U.S. Attorney ! -'miGT COURT

501 I Street, Suite 10-100 coe et OG) OF GALIFORNI.
Sacramento, California 95814 Elbe
554-2792 os fe

Telephone: (916)
IN THE UNITED STATKS DISTRICT COURT
FOR THE BASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 2:06-440 DFL

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)
Plaintiff, ) EA AGREEMENT
)
Vv. )
)
BRIAN TYRONE PLEASANT, )
) DATE: January 25, 2007
Defendant. j TIME: 10:00 a.m,
)

COURT: Hon. David F. Levi

 

I.
INTRODUCTION

A. Scope of Agreement: The Information in this case charges
the defendant with bank fraud. This document contains the complete
Plea Agreement between the United States Attorney's Office for the
EBastern District of California (the “government") and the defendant
regarding this case. This Plea Agreement is limited to the United
States Attorney's Office for the Bastern District of California and
cannot bind any other federal, state, or local prosecuting,
administrative, or regulatory authorities.

B. Court Not a Party: The Court is not a party to this Plea
Agreement. Sentencing is a matter solely within the discretion of

the Court, the Court is under no obligation to accept any

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recommendations made by the government, and the Court may in its
discretion impose any sentence it deems appropriate up to and
including the statutory maximum stated in this Plea Agreement. If
the Court should impose any sentence up to the maximum established
by the statute, the defendant cannot, for that reason alone,
withdraw his guilty plea, and he will remain bound to fulfill all of
the obligations under this Plea Agreement. The defendant
understands that neither the prosecutor, defense counsel, nor the
Court can make a binding prediction or promise regarding the
sentence he will receive.
II.
DEFENDANT'S OBLIGATIONS

A. Guilty Pleas: The defendant wili plead guilty to the sole
count of the Information, charging him with bank fraud, in violation
of 18 U.S.C. § 1344. The defendant agrees that he is in fact guilty
of this charge and that the facts set forth in the Factual Basis
attached hereto as Exhibit A are accurate.

1. Waiver of Indictment: The defendant agrees that, at
the entry of plea proceeding, he will sign a written waiver of
prosecution by indictment and consent to proceed by information
rather than by indictment.

B. Restitution: The Mandatory Victim Restitution Act requires
the Court to order restitution to the victims of certain offenses.
In addition to that restitution, the defendant agrees to pay full

restitution to the following victims in the amounts below.

Victim Amount
Armed Forces Bank $21,971.73

Travis Air Force Base Branch

 
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Payment shall be made as directed by the Probation Officer. The
defendant further agrees that he will not seek to discharge any
restitution obligation or any part of such obligation in any
bankruptcy proceeding.

C. Fane: The parties anticipate that the defendant will be
found to lack the ability to pay both restitption and a fine. The
defendant agrees to pay restitution, in exchange for the
government’s agreement to recommend that no fine be imposed.

D. Special Assessment: The defendant agrees to pay a special
assessment of $100.00 at the time of sentencing by delivering a
check or money order payable to the United States District Court to
the United States Probation Office immediately before the sentencing
hearing. The defendant understands that this Plea Agreement is
voidable by the government if he fails to pay the assessment prior
to that hearing.

E, Relinquishment of Military Identification: The defendant
agrees to relinquish to Air Force Office of Special Investigations
Agent Mario Price at the time of his entry of his guilty plea any
and all military identification card(s) containing his picture or
likeness or name that are in his possession, including on his
person; at his place(s) of residence; at his place(s) of employment;
in any vehicle under his control; in any safe, vault, or safe
deposit box; or in the possession of any other person to whom he has
delivered them or caused or allowed them to be delivered or obtained
in any manner. This provision specifically includes, but is not
limited to, a military identification showing the defendant to be a

Navy Lieutenant Junior Grade.

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Itz.
THE GOVERNMENT'S OBLIGATIONS

A. Dismissals: The government agrees to move, at the time of
sentencing, to dismiss without prejudice the remaining count in the
pending Complaint. The government also agrees not to reinstate any
dismissed count except as provided in Part VII-B of this Plea
Agreement.

B. Recommendations:

1. Incarceration Range: The government will recommend
that the defendant be sentenced to the low end of the applicable
guideline range for his offense as determined by the United States
Probation Office.

2. Acceptance of Responsibility: If the United States
Probation Office determines that a two-level reduction in the
defendant's offense level for his full and clear demonstration of
acceptance of responsibility is appropriate under U.S8.8.G. § 3E1.1,
the government will not oppose such a reduction, so long as the
defendant pleads guilty, meets with and assists the probation
officer in the preparation of the pre-sentence report, is truthful
and candid with the probation officer, and does not otherwise engage
in conduct that constitutes obstruction of justice within the
meaning of U.S.S5.G § 3C1.1, either in the preparation of the pre-
sentence report or during the sentencing proceeding.

3. Fine: Because of the likelihood that the defendant is
unable to pay both restitution and a fine, the government agrees to
recommend that no fine be imposed, in exchange for the defendant's
agreement to pay restitution.

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Iv.
ELEMENTS OF THE OFFENSE

A. Elements of the Offense: At atrial, the government would
have to prove beyond a reasonable doubt the following elements of
the offense to which the defendant is pleading guilty, bank fraud,
in violation of 18 U.S.C. § 1344:

First, the defendant knowingly carried out a scheme or plan to
obtain money or property from the Armed Forces Bank, Travis Air
Force Base Exchange Branch, by making false statements or promises;

Second, the defendant knew that the statements or promises were
false;

Third, the statements or promises were material, that is, they
would reasonably influence a bank to part with money or property;

Fourth, the defendant acted with the intent to defraud; and

Fifth, the Armed Forces Bank, Travis Air Force Base Exchange
Branch, was federally insured.

Vv.
MAXIMUM SENTENCE

A. Maximum Penalty: The maximum sentence that the Court can
impose is 30 years of incarceration, a fine of 51,000,000, a five-
year period of supervised release and a special assessment of
$100.00. By signing this Plea Agreement, the defendant also agrees
that the Court can order the payment of restitution for the full
loss caused by the defendant's wrongful conduct. The defendant
agrees that the restitution order is not restricted to the amounts
alleged in the specific count to which the defendant is pleading

guilty. The defendant further agrees that he will not attempt to
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discharge in any present or future bankruptcy proceeding any
restitution imposed by the Court.

B. Violations of Supervised Release: The defendant
understands that if he violates a condition of supervised release at
any time during the term of supervised release, the Court may revoke
the term of supervised release and require the defendant to serve up
to three additional years imprisonment.

VI.
SENTENCING DETERMINATION

A. Statutory Authority: The defendant understands that the
Court must consult the Federal Sentencing Guidelines (as promulgated
by the Sentencing Commission pursuant to the Sentencing Reform Act
of 1984, 18 U.S.C. §§ 3551-3742 and 28 U.S.C. §§ 991-998, and as
modified by United States v,. Booker and United States v. Fanfan,

543 U.S. 220 (2005)) and must take them into account when
determining a final sentence. The defendant understands that the
Court will determine a non-binding and advisory guideline sentencing
range for this case pursuant to the Sentencing Guidelines. The
defendant further understands that the Court will consider whether
there is 4 basis for departure from the guideline sentencing range
(either above or below the guideline sentencing range) because there
exists an aggravating or mitigating circumstance of a kind, or to a
degree, not adequately taken into consideration by the Sentencing
Commission in formulating the Guidelines. The defendant further
understands that the Court, after consultation and consideration of
the Sentencing Guidelines, must impose a sentence that is reasonable
in light of the factors set forth in 18 U.S.C. § 3553(a).

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B. Stipulations Affecting Guidelines Calculation: The
government and the defendant agree that there is no material dispute
as to the following sentencing guidelines variables and therefore
stipulate to the following:

1. Base Offense Level: 7 ({U.5.5.G. § 2Bl.1(a)(1)] +4 [§

2B1.1(ab) (a) (C)] = 21

2. Victim-related Adjustments: not applicable

3. Role in the Offense Adjustment: not applicable

4. Obstruction Adjustment: not applicable

5. Adjusted Offense Level: 11

6. Acceptance of Responsibility: -2 (if the defendant
qualifies; seé paragraph III(B) (2) above)

7. (Criminal History: no agreement, but the parties
believe that the defendant’s Criminal History Category is I

8. Departures: no agreement

9. Sentencing Range: If the defendant’s Criminal History
Category is I and his Total Adjusted Offense Level is 9, his
sentencing range would be 4-10 months in custody, in Zone B.

10. Joint Sentencing Recommendation: The defendant was
arrested on or about June 5, 2006 in Georgia, and was released
on bond on or about June 29, 2006 in Sacramento, having served
approximately 24 or 25 days in custody. In light of the time
he has already served, if his Criminal History Category, Total

Adjusted Offense Level, and Sentencing Range turn out to be as

anticipated above, then the parties jointly recommend that the

defendant be placed on formal probation for a period of time
recommended by the Probation Office and that home detention be

substituted for any remaining period of imprisonment that would

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otherwise be imposed. As indicated above, the parties also

jointly recommend that the defendant be ordered to pay full

restitution and that no fine be imposed.
VII.
WAIVERS

A. Waiver of Constitutional Rights: The defendant understands
that by pleading guilty he is waiving the following constitutional
rights: (a) to plead not guilty and to persist in that plea if
already made; (b) to be tried by a jury; (c) to be assisted at trial
by an attorney, who would be appointed if necessary; (d) to subpoena
witnesses to testify on his behalf; (e@) to confront and cross-
examine witnesses against him; and (f) not to be compelled to
incriminate himself.

B. Waiver of Appeal and Collateral Attack: The defendant
understands that the law gives him a right to appeal his conviction
and sentence. He agrees as part of his plea, however, to give up
the right to appeal the conviction and the right to appeal any
aspect of the sentence imposed in this case so long as his sentence
is no longer than the top of the Sentencing Guidelines range
determined by the Court consistent with the stipulations set forth
above about the Sentencing Guidelines variables (that is, a total
adjusted offense level of 9 or below). He specifically gives up his
right to appeal any order of restitution the Court may impose,

The defendant also gives up any right he may have to bring a
post-conviction attack on his conviction or his sentence. He
specifically agrees not to file a motion under 28 U.S.C. § 2255 or

§ 2241 attacking his conviction or sentence.

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Notwithstanding the agreement in part III.A above that the
government will move to dismiss counts against the defendant, if the
defendant ever attempts to vacate his plea, dismiss the underlying
charges, or reduce or set aside his sentence on any of the counts to
which he is pleading guilty, the government shall have the right (1)
to prosecute the defendant on any of the counts to which he pleaded
guilty; (2) to reinstate any counts that may be dismissed pursuant
to this Plea Agreement; and (3) to file any new charges that would
otherwise be barred by this Plea Agreement. The decision to pursue
any or all of these options is solely in the discretion of the
United States Attorney’s Office. By signing this Plea Agreement,
the defendant agrees to waive any cbhjections, motions, and defenses
he might have to the government’s decision. In particular, he
agrees not to raise any objections based on the passage of time with
respect to such counts including, but not limited to, any statutes
of limitation or any objections based on the Speedy Trial Act or the
Speedy Trial Clause of the Sixth Amendment.

C. Waiver of Attorneys’ Fees and Costs: The defendant agrees
to waive all rights under the “Hyde Amendment,” Section 617, P.L.
105-119 (Nov. 26, 1997), to recover attorneys’ fees or other
litigation expenses in connection with the investigation and
prosecution of all charges in the above-captioned matter and of any
rélated allegations (including without limitation any charges to be
dismissed pursuant to this Plea Agreement and any charges previously
dismissed).

D, Waiver of DNA Testing

The defendant understands that, before entering a guilty plea

pursuant to this Plea Agreement, he could request DNA testing of

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evidence in this case. The defendant further understands that, with
respect to the offense to which he is pleading guilty pursuant to
this Plea Agreement, he would have the right to request DNA testing
of evidence after conviction under the conditions specified in 18
U.S.C. § 3600. Knowing and understanding his right to request DNA
testing, the defendant knowingly and voluntarily gives up that right
with respect to any items of evidence there may be in this case that
might be amenable to DNA testing. The defendant understands and
acknowledges that by giving up this right, he is giving up any
ability to request DNA testing of evidence in this case in the
current proceeding, in any proceeding after conviction under 18
U.S.C. § 3600, and in any other proceeding of any type. The
defendant further understands and acknowledges that by giving up
this right, he will never have another opportunity to have the
evidence in this case submitted for DNA testing, or to employ the
results of DNA testing to support a claim that he is innocent of the
offense to which he is pleading guilty.
VIII.
ENTIRE PLEA AGREEMENT

Other than this Plea Agreement, no agreement, understanding,
promise, or condition between the government and the defendant
exists, nor will such agreement, understanding, promise, or
condition exist unless it is committed to writing and signed by the
defendant, counsel for the defendant, and counsel for the United
States.
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Ix.
APPROVALS AND SIGNATURES
A. Defense Counsel: I have read this Plea Agreement and have
discussed it fully with my client. The Plea Aqreement accurately
and completely sets forth the entirety of the agreement. I concur
in my client's decision to plead guilty as set forth in this Plea

Agreement.

DATED: wo

 

Ned Smock™ \/
Assistant Federal Defender
Attorney for Defendant

B. Defendant: I have read this Plea Agreement and carefully
reviewed avery part of it with my attorney. I understand it, and I
voluntarily agree to it. Further, I have consulted with my attorney
and fully understand my rights with respect to the provisions of the
Sentencing Guidelines that may apply to my case. No other promises

or inducements have been made to me, other than those contained in

this Plea Agreement. In addition, no one has threatened or forced

 
  

me in any way to enter into this Plea Agreement. Fi

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satisfied with the representation of my attorney in is case,
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DATED: uf ula 71

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ee /
BRIAN BD J. , Defendant

c. <Atterney for United States: I accept and agree to this

Plea Agreement on behalf of the government.

DATED: 1125 /0°7 McGREGOR W. SCOTT
f , United States Attorney

By

  

SAMANTHA S. SP
Assistant U.S. orney

 

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EXHIBIT "A"
Factual Basis for Plea

If this case were to proceed to trial, the government would
prove the following beyond a reasonable doubt:

Between on or about April 11, 2005, and on or about May 1,
2006, defendant Brian Tyrone Pleasant entered the Travis Air Force
Base Exchange branch of the Armed Forces Bank and negotiated
approximately 74 personal checks. Approximately 67 of the checks
were in the amount of $300.00, and the remaining approximately 6
checks ranged in amount from as little as $71.18 to as much as
$398.56, Approximately 59 of the checks were written on a personal
checking account the defendant had opened through Montgomery County
Teachers Federal Credit Union. Approximately 15 of the checks were
written on 4 personal checking account the defendant had opened
through Sun Trust Bank.

All of the checks were drawn on closed bank accounts, which the
defendant knew were closed and contained no funds to cover the
amounts of the checks. By presenting the checks to the bank, the
defendant represented the checks to be legitimate checks on open
accounts with sufficient funds to cover the small amounts of money
on the faces of the checks. Neither the Montgomery County Teachers
Federal Credit Union nor the Sun Trust Bank honored any of the
checks. As a result of the Armed Forces Bank’s reasonable reliance
upon the defendant’s material misrepresentations that the checks
were good, the Armed Forces Bank has suffered losses of
approximately $21,971.73.

The Armed Forces Bank, Travis Air Force Base Exchange Branch,
requires a person who wishes to cash a check to furnish picture
identification, which is verified by the employee negotiating the
transaction,

All of the checks contained the defendant’s name, address, and
telephone number. The addresses listed on the checks match
residences listed by the defendant on various paperwork in his Naval
records. The cellular telephone service provider for the telephone
humber on the checks confirms that the number was issued to the
defendant, and he provided the service provider with a billing
address and social security number that his Naval records also
associate with him.

Air Force Office of Special Investigations Agent Mario Price
has viewed videotapes which show a person who appears to be the
defendant cashing checks at the Travis Air Force Base Exchange
Branch of the Armed Forces Bank on dates the defendant's checks were
negotiated.

The Armed Forces Bank, Travis Air Force Base Exchange Branch,
was and is insured by the Federal Deposit Insurance Corporation.

 
